          Case 1:21-mi-55555-JPB Document 403 Filed 02/08/23 Page 1 of 3




                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

  IN RE GEORGIA SENATE BILL 202
                                                          MASTER CASE
                                                          No.: 1:21-MI-55555-
                                                          JPB
  THE NEW GEORGIA PROJECT, et al.,

                             Plaintiffs,
                                                          Civil Action No.:
                     v.                                   1:21-cv-01229-JPB
  BRAD RAFFENSPERGER, in his official capacity
  as the Georgia Secretary of State, et al.,
                             Defendants,
  REPUBLICAN NATIONAL COMMITTEE, et al.,

                             Intervenor-Defendants.


             PLAINTIFFS’ RULE 5.4 CERTIFICATE OF SERVICE

         Pursuant to Fed. R. Civ. P. 26(a)(2) and LR 5.4 and 26.3(C), NDGa,

undersigned counsel hereby certify that on January 20, 2023, they caused Plaintiffs

in the above-captioned case to serve true and correct copies of the Expert Report of

Allan H. Lichtman, Ph.D. upon counsel of record for all parties in this matter via

email.




                                           1
      Case 1:21-mi-55555-JPB Document 403 Filed 02/08/23 Page 2 of 3




Dated: February 8, 2023             Respectfully submitted,

/s/ Adam M. Sparks                  /s/ Uzoma N. Nkwonta
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        Case 1:21-mi-55555-JPB Document 403 Filed 02/08/23 Page 3 of 3




                          CERTIFICATE OF SERVICE

      I hereby certify that I have on this date electronically filed the foregoing

PLAINTIFFS’ RULE 5.4 CERTIFICATE OF SERVICE with the Clerk of Court

using the CM/ECF system, which will automatically send e-mail notification of such

filing to counsel of record.

 Dated: February 8, 2023                 /s/ Adam M. Sparks
                                         Counsel for Plaintiffs
